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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    CENTRAL DIVISION

UNITED STATES OF AMERICA

VS.                                    4:17-CR-00111-09-JM

JABARI ZAKI CUMMINS

                                              ORDER

         For the reasons set out below, Defendant’s Motion for Compassionate Release (Doc.

No. 1083) is DENIED.

         On April 18, 2018, Defendant pled guilty to conspiracy to possess with intent to

distribute and distributing heroin. 1 On September 5, 2018, he was sentenced to 188 months in

prison. 2

         Defendant seeks compassionate release because of COVID-19. This is not an

“extraordinary and compelling” reason to warrant relief. Additionally, the relief is not warranted

after consideration of the § 3553(a) factors – specifically the need for the sentence to reflect the

severity of the offense and to protect the public from further crimes by Defendant.

         IT IS SO ORDERED, this 27th day of December, 2021.


                                                      _______________________________
                                                      UNITED STATES DISTRICT JUDGE




1
    Doc. No. 515.
2
    Doc. Nos. 636, 637.
